  Case 19-04119       Doc 10   Filed 03/15/19 Entered 03/16/19 12:12:31                Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                       )                BK No.:      19-04119
Blue Thunder Truck Brockerage, Inc.          )
                                             )                Chapter: 7
                                             )
                                                             Honorable Janet S. Baer
                                             )
                                             )               DuPage
               Debtor(s)                     )

                 Order Granting Trustee's Motion to Compel Debtor to Turnover
                      Books, Records and Files of the Debtor to the Trustee

         This matter coming before the Court on the motion of Frank J. Kokoszka as chapter 7 trustee
(the "Trustee"), to compel Debtor Blue Thunder Truck Brokerage, Inc. to turn over to the Trustee any
and all books, records and files of the Debtor to the Trustee, due and proper notice having been given to
all parties entitled thereto, and the Court being otherwise duly advised in the premises,

  IT IS HEREBY ORDERED THAT:

  The motion is granted and Debtor Blue Thunder Truck Brokerage, Inc. is ordered to turn over all
books, documents, records, and papers related to the property and financial matters of the Debtor within
14 days of entry of this order.




                                                          Enter:


                                                                   Honorable Janet S. Baer
Dated: March 15, 2019                                              United States Bankruptcy Judge

 Prepared by:
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